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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )          4:04CR3137-2
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )          MEMORANDUM
                                               )          AND ORDER
TIMOTHY EUGENE LANGSTON,                       )
                                               )
                     Defendant.                )

       The government has filed a motion for reduction of sentence pursuant to Federal Rule
of Criminal Procedure 35(b) (filing 56). Accordingly,

       IT IS ORDERED that:

       (1)     Counsel for the government shall notify the court when the motion for
reduction in sentence pursuant to Rule 35(b) (filing 56) is ripe for decision. The motion shall
not be decided until counsel for the government certifies that the motion is ripe;

        (2)    Counsel for the defendant, if previously appointed pursuant to the Criminal
Justice Act, is reappointed to represent the defendant for purposes of the Rule 35(b) motion.
If retained, counsel for the defendant remains as counsel for the defendant until the Rule
35(b) motion is resolved or until given leave to withdraw;

       (3)    The Federal Public Defender shall provide CJA counsel with a new voucher;

       (4)    The Clerk of the Court shall provide a copy of this order to counsel for the
government and counsel for the defendant. The undersigned’s judicial assistant will provide
a copy to the Federal Public Defender.

       April 20, 2006..                    BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
